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           In the United States Court of Federal Claims
                                           No. 18-1820
                                      Filed: August 24, 2020

                                                    )
    HARVARD PILGRIM HEALTH CARE, INC,               )
    HPHC INSURANCE COMPANY, INC., and               )
    HARVARD PILGRIM HEALTH CARE OF                  )
    NEW ENGLAND, INC.,                              )
                                                    )
                Plaintiffs,                         )
                                                    )
                v.                                  )
                                                    )
    THE UNITED STATES,                              )
                                                    )
                Defendant.                          )
                                                    )

                                   ORDER STAYING CASE

        On February 28, 2019, the Court issued an Order staying this case pending the Federal
Circuit’s resolution of Sanford v. United States, No. 19-1290 (“Sanford”) and directing the
parties to file a Joint Status Report every ninety days. Order Granting Motion to Stay, ECF No.
10. Pursuant to that Order, on August 21, 2020, defendant filed a Joint Status Report, notifying
the Court that the Federal Circuit issued a decision in Sanford and in the consolidated appeals.
Joint Status Report, ECF No. 21 at 1. Additionally, the parties requested “that the Court stay this
case for sixty-three days, [up] to and including Friday, October 23, 2020, at which point the
parties will submit a joint status report proposing further proceedings.” Id. at 2. For good cause
shown, this case is hereby STAYED for an additional sixty-three days, up to and including
Friday, October 23, 2020, at which point the parties are hereby DIRECTED to file a Joint Status
Report.1

        IT IS SO ORDERED.


                                                   s/   Loren A. Smith
                                                  Loren A. Smith,
                                                  Senior Judge




1
       As the stay in this case was lifted on Friday, August 14, 2020, the stay is extended
through Friday, October 23, 2020, pursuant to Rule 6(a)(1)(C) of the Rules of the Court of
Federal Claims.
